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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


                                                    Civil Action No. 20-15655 (KSH) (CLW)
    THS GROUP, LLC,

                Plaintiff,                           REPORT AND RECOMMENDATION
                                                     FOR SUA SPONTE REMAND
    COVALENT MARKETING, LLC, et al.,

                Defendants.



CATHY L. WALDOR, U.S.M.J.

        This comes before the Court, sua sponte, concerning the apparent lack of subject matter

jurisdiction in the above-referenced matter. In accordance with Federal Rule of Civil Procedure

78 and Local Civil Rule 78.1, the Court resolves this issue without oral argument.1 Upon careful

consideration of the record for this matter, and for good cause shown, and

        WHEREAS Plaintiff THS Group LLC commenced this case by filing a Complaint in the

Superior Court of New Jersey, Law Division, Middlesex County Vicinage, on or about September

10, 2020. (Generally Compl., ECF No. 1-1). In that pleading, Plaintiff asserted several New

Jersey statutory and common law claims against Defendants Covalent Marketing LLC, IBM, JSL

Enterprises, LLC, Acoustic, L.P., and mGage: Mobile Marketing related to an alleged problem

with a text message marketing system. (Id.); and

        WHEREAS Defendants Covalent Marketing LLC (“Covalent”) and IBM removed the

case to the United States District Court for the District of New Jersey on November 6, 2020.



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 While not a formal argument, the Court did address Plaintiff’s citizenship during a telephone
conference call on April 1, 2021.
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(Notice of Removal, ECF No. 1). In so doing, those defendants argued that removal was

appropriate because the District Court “has subject matter jurisdiction over this action pursuant to

28 U.S.C. § 1332(a)(1).”       (Id. ¶ 17).    Covalent and IBM supported that conclusion with

representations regarding the respective citizenship of each party, as well as the amount of

damages Plaintiff alleged to have suffered. (Id. ¶¶ 8-15). With regard to Plaintiff, Covalent and

IBM stated:

                Plaintiff alleges that it is a corporation organized under the laws of
                New Jersey, with its principal place of business in New Jersey. See
                Complaint ¶ 2. A public records search reveals no citizenship of
                Plaintiff in any state other than New Jersey. Upon information and
                belief, Plaintiff was and is a citizen of New Jersey for purposes of
                federal diversity jurisdiction, both at the time of the filing of the
                action in state court and at the time of removal.

(Id. ¶ 10) (citations in original). In short, Covalent and IBM removed this matter to federal court

based on their understanding that Plaintiff had New Jersey citizenship while all the defendants

were citizens of other states. (Id. ¶¶ 9-16); and

       WHEREAS the undersigned conducted an initial conference on January 20, 2021 and

entered an Initial Scheduling Order on the same date. (ECF No. 27). That Order required, in

pertinent part, that all parties disclose their states of citizenship by February 17, 2021. (Initial

Scheduling Order at 1, ECF No. 27). All defendants complied with that requirement. (ECF Nos.

31-34). Of note, Defendant Acoustic, L.P. represented:

                Acoustic, L.P. is, and was at the time of the filing of this action in
                state court, a limited partnership. For purposes of determining
                diversity of citizenship under 28 U.S.C. § 1332(a) and 28 U.S.C. §
                1441, the citizenship of Acoustic, L.P.’s partners, general and
                limited, is as follows: Alaska, Arizona, California, Colorado,
                Connecticut, the District of Columbia, Florida, Georgia, Illinois,
                Kansas, Massachusetts, Maryland, Maine, Michigan, Minnesota,
                Missouri, Montana, North Carolina, New Jersey, Nevada, New
                York, Ohio, Oregon, Pennsylvania, Rhode Island, Tennessee,



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                 Texas, Utah, Virginia, Vermont, Washington, and Wisconsin, as
                 well as one or more foreign states.

(Decl. of States of Citizenship of Acoustic, L.P., ECF No. 33) (emphasis added); and

        WHEREAS Plaintiff did not timely disclose its citizenship. Nevertheless, in light of

Defendant Acoustic, L.P.’s New Jersey citizenship, the basis for Defendants’ removal, and the

Court’s concern about the propriety of the District Court’s subject matter jurisdiction over this

matter, the undersigned entered an Order that stated, in pertinent part: “It appears that both

Plaintiff and Defendant Acoustic, L.P. are citizens of New Jersey, and that the District Court

therefore lacks subject matter jurisdiction over this case. On or before 2/26/21, the parties shall

file letters advising whether they consent to remand or, alternatively, why the District Court should

not remand the matter sua sponte for lack of subject matter jurisdiction.” (Feb. 18, 2021 Order,

ECF No. 35). By letter dated February 25, 2021, Defendants jointly advised that they could not

consent to remand because Plaintiff had failed to disclose its citizenship and “[w]ithout this

information, the Court and the parties cannot make a full determination as to whether diversity

jurisdiction exists.” (Feb. 25, 2021 Letter at 1-2, ECF No. 36). Defendants therefore requested

that the Court direct Plaintiff to provide that information by a date certain. (Id. at 2); and

        WHEREAS Plaintiff ultimately disclosed its citizenship on March 1, 2021, advising that

it “is, and was at the time of the filing of this action in state court, a corporation organized and

existing under the laws of New Jersey with a principal place of business [in New Jersey].”

(Disclosure of States of Citizenship of THS Group LLC, ECF No. 38). After reviewing that

submission, the Court entered an Order stating, in relevant part: “[w]hile Plaintiff represents that

it is a corporation organized and existing under the laws of New Jersey, the Court notes that

Plaintiff's name reflects that it is actually a limited liability company. On or before 3/9/21, Plaintiff

shall file a letter advising whether it is a corporation or a limited liability company. If it is a limited

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liability company, Plaintiff shall identify each of its members, and disclose each member's

respective state of citizenship.” (March 2, 2021 Order, ECF No. 40). On March 9, 2021, Plaintiff

filed the Certification of David Seruya Pursuant to 28 U.S. Code § 1746. (ECF No. 42). In his

Certification, Mr. Seruya represented that he was “the sole owner and member of THS Group

LLC” and that he was “located in New Jersey at address 485 S. Edgemere Drive, Allenhurst, NJ.”

(Id.); and

        WHEREAS the Court held a telephone status conference on March 10, 2021 and

addressed the subject matter jurisdiction issue. Following the conference, the Court entered an

Order directing the parties to file additional letter briefing on the matter. (ECF No. 44). On March

17, 2021, Defendants filed a joint letter challenging the accuracy of Mr. Seruya’s certification and

asking the Court to reject Mr. Seruya’s representations. (ECF No. 47). Defendants argued, for

instance, that public records reflected that Plaintiff was formed under Pennsylvania law, rather

than in New Jersey, and that Plaintiff’s initial registered officer was Ronald Seruya rather than

David Seruya. (Id. at 2-3). Defendants therefore argued: “Mr. Seruya’s certification appears to

be inaccurate with respect to THS Group LLC’s state of organization, as well as potentially the

ownership/membership of the LLC. In light of this, Defendants have concerns about the accuracy

of the information provided by Mr. Seruya regarding THS’s members and state(s) of citizenship.”

(Id. at 3). Plaintiff filed a response on March 31, 2021, explaining, in relevant part, that Plaintiff

is, in fact, organized under Pennsylvania law, but that it operates out of New Jersey and that David

Seruya is its sole member. (Pl. March 31, 2021 Br. at 1-2, ECF No. 54); and

        WHEREAS the Court conducted another telephone conference on April 1, 2021. During

that conference, Defendant Covalent continued to challenge Plaintiff’s representations regarding

its citizenship, and it became apparent that Defendants would not consent to remand; and



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       WHEREAS when removing this case to federal court, Defendants Covalent and IBM

argued that the District Court enjoyed subject matter jurisdiction over the matter pursuant to 28

U.S.C. § 1332. That statute provides, in pertinent part, that “[t]he district courts shall have original

jurisdiction over all civil actions where the matter in controversy exceeds the sum or value of

$75,000, exclusive of interest and costs, and is between . . . citizens of different States.” 28 U.S.C.

§ 1332(a)(1); and

       WHEREAS the law governing the citizenship of unincorporated associations is well-

settled. As the United State Court of Appeals for the Third Circuit has summarized:

                [U]nlike corporations, unincorporated associations such as
                partnerships “are not considered ‘citizens' as that term is used in the
                diversity statute.” Instead, “the citizenship of partnerships and other
                unincorporated associations is determined by the citizenship of
                [their] partners or members.” The state of organization and the
                principal place of business of an unincorporated association are
                legally irrelevant. “Accordingly, the citizenship of an LLC is
                determined by the citizenship of its members.” For complete
                diversity to exist, all of the LLC's members “must be diverse from
                all parties on the opposing side.”

Lincoln Ben. Life Co. v. AEI Life, LLC, 800 F.3d 99, 104–05 (3d Cir. 2015) (internal citations

omitted); and

       WHEREAS the Third Circuit has cautioned that “[t]he removal statutes ‘are to be strictly

construed against removal and all doubts should be resolved in favor of remand’”, Boyer v. Snap-

On Tools Corp., 913 F.2d 108, 111 (3d Cir. 1990) (quoting Steel Valley Auth. v. Union Switch &

Signal Div., Am. Standard, Inc., 809 F.2d 1006, 1010 (3d Cir. 1987)). Moreover, the “party who

urges jurisdiction on a federal court bears the burden of proving that jurisdiction exists.” Id. (citing

Steel Valley, 809 F.3d at 1010, 1012, n. 6); and




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        WHEREAS 28 U.S.C. § 1447(c) provides, in relevant part: ““If at any time before final

judgment it appears that the district court lacks subject matter jurisdiction, the case shall be

remanded.”; and

        WHEREAS the record in this matter reflects that Defendant Acoustic, L.P. has partners

residing in New Jersey, as well as 31 other states and the District of Columbia. (Disclosure of

States of Citizenship of Acoustic, L.P., ECF No. 33). Acoustic is therefore a citizen of each of

those locations for diversity purposes. The record further reflects that Plaintiff is a limited liability

company, and that its sole member resides in New Jersey. (Decl. of David Seruya, ECF No. 42).

Plaintiff is therefore a New Jersey citizen for the purpose of a diversity analysis. While Defendants

may not believe Mr. Seruya’s representations regarding Plaintiff’s citizenship,2 they have not

established an alternative, let alone that complete diversity exists here. For instance, while

Defendants have argued that Plaintiff was formed in Pennsylvania and may, therefore, have some

connection to that state, Acoustic, L.P. is also a citizen of Pennsylvania, (Disclosure of States of

Citizenship of Acoustic, L.P., ECF No. 33), which renders that point meaningless for diversity

purposes. It is also not lost on the Court that Covalent and IBM removed this case to federal court

based on their own understanding that Plaintiff was a New Jersey citizen, only to jettison that belief

in the face of remand; and

        WHEREAS the Court finds that, as both Plaintiff and Defendant Acoustic, L.P. have New

Jersey citizenship, the District Court may not exercise subject matter jurisdiction over this matter




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 During the April 1, 2021 telephone conference, counsel for Defendant Covalent argued that Mr.
Seruya’s certification was unclear, as Mr. Seruya represented that he was “located” at a specific
address in New Jersey, rather than specifying that he resided at that address. Plaintiff’s counsel
represented that Mr. Seruya did, in fact, reside at that address.
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in accordance with 28 U.S.C. § 1332. The District Court should therefore remand this matter to

the Superior Court of New Jersey pursuant to 28 U.S.C. § 1447(c),

       IT IS on this 19th day of April, 2021,

       RECOMMENDED that the District Court remand this case to the Superior Court of New

Jersey for lack of subject matter jurisdiction.

                                                      s/Cathy L. Waldor
                                                      Cathy L. Waldor, U.S.M.J.




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